Oo FH NY Dn FBP WwW NH

OH NYO NY WN WN WN HN KN KN RR RR RR Re eee eee ee
aN Dn On BPW NHN KF TD Oo Oy nan Nn BPW NH KF CO

Case 2:20-cr-00634-DWL Document 110

Filed 12/19/22 Pag get of 2

     

 

_Y FILED _.. LODGED
___RECAIVED ___ Copy
DEC 1 9 2022
GARY M. RESTAINO CLERK U S DISTRICT COURT
United States Attorney DISTRIGTIORN ARIZONA
District of Arizona BY ~  M DEPUTY
DAVID A. PIMSNER a cotta

  

Arizona State Bar No. 007480
AMY C. CHANG

Arizona State Bar No. 027566
Assistant U.S. Attorneys

Two Renaissance Square

40 N. Central Ave., Suite 1800
Phoenix, Arizona 85004
Telephone: 602-514-7500
Email: david. Pe doh ak .ZOV
Email: amy.chang@usdoj.gov
Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, No. CR-20-00634-PHX-DWL
Plaintiff, INFORMATION

VS. VIO: Concealment of Funds Intended to
ort Acts of Terrorism
(8 USS. a ws § 2339C(c)t L(A) and (2)(A))
Jill Marie Jones, Count

Defendant.

 

 

 

THE UNITED STATES ATTORNEY’S OFFICE CHARGES:
COUNT ONE
On or between March 4, 2020 and July 22, 2020 in Maricopa County, within the
District of Arizona, and elsewhere, the defendant, JILL MARIE JONES, did knowingly
conceal and disguise the nature, location, source, ownership and control of material support

//

 
Oo A ND Hn FBP W NY KF

Oo NY NH WN WN NY NN HN HKD RR Re Re ee eee
OConN Dn On FP WN KF TD YO WB NI WDB Wn BW NO KF CO

 

Case 2:20-cr-00634-DWL Document 110 Filed 12/19/22 Page 2 of 2

and resources and funds, intending that such funds were provided or were to be provided

in violation of 18 U.S.C. § 2339B.

All in violation of 18 U.S.C. §§ 2339C(c)(1)(A) and (2)(A).

Dated this ISS Gay of December, 2022.

GARY M. RESTAINO
United States Attorney
District of Arizona

I

—$————

 

DAVID A. PIMSNER. _)
AMY C. CHANG
Assistant U.S. Attorneys

 
